                         Case 1:08-cv-00790-OWW-GSA Document 60 Filed 04/20/10 Page 1 of 2

                    1     James H. Wilkins, #116364                                           (SP A C E B E L O W F O R F IL IN G ST A M P O N L Y )

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                    5     Attorneys for Plaintiff, CALIFORNIA DAIRIES,
                          INC., a California Corporation
                    6

                    7                                 UNITED STATES DISTRICT COURT
                    8                                 EASTERN DISTRICT OF CALIFORNIA
                    9
                          CALIFORNIA DAIRIES, INC., a                       Case Number 1:08-CV-00790 OWW-GSA
                  10      California corporation,
                  11                     Plaintiff,                         ORDER GRANTING PLAINTIFF,
                                                                            CALIFORNIA DAIRIES, INC. RELIEF
                  12             v.                                         FROM DISCOVERY DEADLINE FOR
                                                                            NON-EXPERT DISCOVERY
                  13      RSUI Indemnity Company
                  14                     Defendant.
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                  17             On February 11, 2010, James H. Wilkins, of Wilkins, Drolshagen & Czeshinski, LLP, on
                  18      behalf of CALIFORNIA DAIRIES, INC., and Nicholas Sarris, of Kaufman Borgeest & Ryan LLP,
                  19      on behalf of RSUI INDEMNITY COMPANY, appeared via telephone conference before the Court
                  20      in connection with CALIFORNIA DAIRIES, INC.’s Ex Parte Application for Relief from Discovery
                  21      Deadline for Non-Expert Discovery. After reviewing all papers submitted in connection with said
                  22      Ex Parte Application, and hearing oral argument, and finding good cause therefor,
                  23             IT IS HEREBY ORDERED that CALIFORNIA DAIRIES, INC.’s ex Parte Request for
                  24      Relief is granted and that CALIFORNIA DAIRIES, INC. shall be given the opportunity to take the
                  25      depositions of Paul C. Rowe and Phil Krajec. Counsel for RSUI INDEMNITY COMPANY is
                  26      ordered to provide proposed dates for said depositions as soon as possible so that the depositions can
                  27      ///
                  28      ///

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                         Case 1:08-cv-00790-OWW-GSA Document 60 Filed 04/20/10 Page 2 of 2

                    1     be taken without delay. Once the depositions have been taken, the parties can contact the Court to
                    2     propose modifications to the outstanding scheduling deadlines, if necessary.
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                    4            Dated: April 20, 2010                        /s/ OLIVER W. WANGER
                                                                              Honorable Oliver W. Wanger
                    5                                                         United States District Court Judge
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